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FOR THE WESTERN DlSTR|CT OF TENNESSEE 05 JUL ..5 PH h: \6
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UN|TED STATES OF AMER|CA,
W!DOF i§‘§ .i§§§§§§PHiS

)
)
P|aintiff, )
) Crimina| No. 05-20204-BIV
vs. )

)
WARD CRUTCHF|ELD, )

)

)

Defendant.

 

ORDER GRANT|NG EXTENS|ON OF T|ME TO F|LE RESPONSE

 

Upon motion ofthe United States, and forgood cause, thetime forfiling ofan Answerr

to the defendantWard Crutohfie|d’s Motion concerning venue is hereby extended until Ju|y 8,

 

2005.
UABLE J. DANiEi_ BREE`N
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DATE:? (. o'-(

 

ISIC COURT - WE TENR D's'TRCT oFTENNESSEE

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Honorable J. Breen
US DISTRICT COURT

